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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA

BILLY JOE AYERS                                      CIVIL ACTION NO. 2:18-CV-00289

VERSUS                                               JUDGE JAMES D. CAIN, JR.

PACKAGING CORP OF AMERICA                            MAGISTRATE KATHLEEN KAY
INC, ELITE INDUSTRIAL SERVICES
INC AND ELITE SPECIALTY
WELDING LLC

                   DEFENDANT PACKAGING CORPORATION OF AMERICA’S
                          MOTION FOR SUMMARY JUDGMENT

         NOW INTO COURT, through undersigned counsel, come Defendant, Packaging

Corporation of America (“PCA”), who respectfully requests this Court issue an order: (1)

granting its Motion for Summary Judgment as to all of Plaintiff’s claims; (2) dismissing all of

Plaintiff’s claims, with prejudice; (3) granting PCA its reasonable costs; and (4) granting PCA all

other relief deemed just and proper by the Court.

         For the reasons more fully set forth in the attached memorandum and supporting

summary judgment evidence included with this motion, Plaintiff’s claims fail. At the time of the

explosion in question, Plaintiff, Billy Ayers was the Statutory Employee of PCA under Louisiana

law. As a result, the Plaintiff’s recovery prayed for herein is conclusively barred by operation of

the exclusive remedy provisions of the Louisiana Workers’ Compensation Act.




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                                            Respectfully submitted,

                                           /s/ Jeffrey A. Riggs
                                     BY: __________________________
                                           JENNIFER E. MICHEL (#18114)
                                           JEFFREY A. RIGGS (#17770)
                                           MICHAEL L. BARRAS (#30855)
                                           LEWIS BRISBOIS BISGAARD & SMITH LLP
                                           100 East Vermilion Street, Suite 300
                                           Lafayette, Louisiana 70501
                                           Telephone: 337-326-5777
                                           Facsimile: 337-504-3341
                                           Counsel for Defendant Packaging Corporation of
                                           America


                                CERTIFICATE OF SERVICE

         I certify that on September 30, 2019, I electronically filed Defendant Packaging

Corporation of America’s Motion for Summary Judgment with the Clerk of Court using the

CM/ECF system, which will automatically send notice of this filing to all counsel of record.

                                            /s/ Jeffrey A. Riggs
                                            JEFFREY A. RIGGS




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